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                                                        SAVAHHAH DIV.

               IN THE UNITED STATES DISTRICT C              'tOJ
                  THE SOUTHERN DISTRICT OF GEORGIA^.____^^^
                           SAVANNAH DIVISION




UNITED STATES OF AMERICA,


V.                                               Case No.   CR417-208


CARLOS EDJUAN ELDER,
                  Defendant.




UNITED STATES OF AMERICA,


                                                 Case No.   CR417-263


FREDERICK BROWN,
                  Defendant,




                                 ORDER



      Elizabeth F. Pavlis, counsel of record for defendants in the

above-styled cases, has moved for leave of absence.              The Court is

mindful that personal and professional obligations require the

absence   of    counsel   on   occasion.   The    Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and             trial shall
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